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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

     UNITED STATES OF AMERICA

     v.                                            Case No. 8:16-cr-258-T-17AEP

     BASIM SAED

                        FORFEITURE MONEY JUDGMENT

           The United States moves pursuant to 18 U.S.C. § 981(a)(1)(C), 28

     U.S.C. § 2461(c), and Rule 32.2(b)(2), Federal Rules of Criminal Procedure,

     for a forfeiture money judgment against the defendant in the amount of

     $51,838.91, representing the amount of proceeds obtained as a result of the

     wire fraud scheme charged in Counts One and Seventeen of the Indictment.

           The defendant pleaded guilty to a wire fraud scheme, in violation of 18

     U.S.C. § 1343 as charged in Counts One and Seventeen of the Indictment, and

     the Court accepted his plea and adjudged him guilty. Being fully advised of

     the relevant facts, the Court finds that the defendant obtained $51,838.91 in

     proceeds from the wire fraud scheme.

           Accordingly, it is ORDERED that the motion of the United States is

     GRANTED.

           It is FURTHER ORDERED that, pursuant to 18 U.S.C. § 981(a)(1)(C),

     28 U.S.C. § 2461(c), and Rule 32.2(b)(2), the defendant should be held jointly
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                  No.
     and severally liable with any convicted co-conspirators, including Bassam

     Saed and Rida Saed, upon their conviction for the wire fraud scheme.

             The Court retains jurisdiction to complete the forfeiture and disposition

     of any property belonging to the defendant that the government is entitled to

     seek under 21 U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c), as a

     substitute asset to satisfy the defendant’s money judgment.

             DONE and ORDERED in Tampa, Florida, on                     February,

     2017.




     All Parties/Counsel of Record




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